Case 2:05-cr-20039-.]PI\/| Document 49 Filed 07/27/05 Page 1 of 2 Page|D 56

UNITED sTATEs DIsTRICT COURT FEM M~ im
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Western Division 65 JUl~ 27 PH l*' lie

        
 

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UNITED STATES OF AMERICA W'"D i_i§' 3 i-.i§i'r??l'il$
-vs~ Case No. 2:05cr20039-02Ml

BRYANT EDWARDS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
FRIDAY, JULY 29, 2005 at 10:30 A.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing
Date. July 27, 2005 f<;/MML z 14 MW//

DIANE K. VESC‘M
UNITED sTATEs MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3 142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) Will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8»'85) Order of Terr'porary Deteniion

This document entered on the docket s?eet i_n compliance
With Ru|e 55 and/or 32(b) FRCrP on _

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:05-CR-20039 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listedl

iintESSEE

 

Leonard E. Lucas

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DeWun R. Settle

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Honorable J on McCalla
US DISTRICT COURT

